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                                                                  August 28, 2020
VIA ECF
The Honorable Kevin N. Fox.
United States District Court
Southern District of New York
40 Foley Square,
New York, NY 10007

        Re:      Actava TV, Inc., et al. v. Joint Stock Company “Channel One Russia
                 Worldwide” et al. (18-cv-06626)
Dear Judge Fox:

        We represent Defendant Broadcasters in this action. Pursuant to Local Civil Rule 5.2.
and Rule 4.A.2. of the Court’s Individual Practices we write to request a sealing order for docket
entries ECF 192 and ECF 192-1 with leave to re-file the relevant documents under seal. Docket
entries ECF 192 and ECF 192-1 contain information Plaintiffs have designated confidential
under Paragraph 2 of the May 17, 2019 Protective Order (ECF 104). Annexed to this letter
motion is a proposed order.



                                                                  Respectfully submitted,

                                                                  /s/ Hardin P. Rowley



Cc:     All Counsel (via ECF)
